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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                       Case No. 21-cv-0173 (PJS/DTS)

      Plaintiff,

v.                                              REPORT AND RECOMMENDATION

Anton Joseph Lazzaro,

      Defendant.


                                    INTRODUCTION

      Defendant Anton Joseph Lazzaro moves the Court to dismiss the indictment

against him, alleging selective and vindictive prosecution [Dkt. No. 236]. In addition, he

contends the Government violated his Sixth Amendment right to counsel and moves the

Court for sanctions [Dkt. No. 213]. For the reasons stated below, the Court recommends

Lazzaro’s motions be denied.

                                  FINDINGS OF FACT

Lazzaro’s Political Activities

      Lazzaro has an “active and robust” political life. Defendant’s Amended Motion to

Dismiss for Selective or Vindictive Prosecution (Mot. to Dismiss) at 8; Dkt. No. 236. He

has donated to the Republican party, run Republican campaigns, and voiced criticism of

the current Department of Justice. Mot. to Dismiss at 8-9; Dkt. No. 236. Lazzaro and his

political action committee, Big Tent Republicans, have also alleged that a Democratic

Congresswoman from Minnesota has committed various crimes and frauds. Mot. to
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Dismiss at 9; Dkt. No. 236. Lazzaro runs a Twitter account which he describes as “entirely

political.” Mot. to Dismiss at 9; Dkt. No. 236.

       In contrast to his conservative political activities, Lazzaro notes that the lead

prosecutor on his case has donated thousands of dollars to Democratic political

candidates, “including candidates who ran against opponents supported by Lazzaro.”

Mot. to Dismiss at 10-11; Dkt. No. 236. This apparent political disagreement forms, in

part, the basis for Lazzaro’s claim that the Government has acted vindictively in

prosecuting him for the indicted crimes. Mot. to Dismiss at 10-11; Dkt. No. 236. Lazzaro

contends his political speech itself is the reason he has been selected for prosecution.

Mot. to Dismiss at 8-11; Dkt. No. 236. Lazzaro further claims that the lead prosecutor

disapproves of Lazzaro’s intimate personal relations and has indicted him on that basis.

Mot. to Dismiss at 16-17; Dkt. No. 236. Finally, Lazzaro claims the Government also

selected him for prosecution based on his wealth. Mot. to Dismiss at 11-14; Dkt. No. 236.

Law Enforcement’s Monitoring of Lazzaro’s Jail Calls

       Since his indictment in August 2021, Lazzaro has been incarcerated in the

Sherburne County Jail. Sealed Tr. of Mot. Hrg. (Hrg. Tr.) at 82; Dkt. No. 234. About a

week after his arrival at Sherburne County, Lazzaro was given an Inmate Handbook,

which included information on how he could request attorney-client privileged phone calls

while in jail. Hrg. Tr. at 83; Dkt. No. 234. While the jail’s phone system – NCIC – is set to

record all inmate calls, if phone numbers are properly designated as belonging to an

inmate’s attorney, the calls are not recorded. Hrg. Tr. at 83-84, Dkt. No. 234. Lazzaro

requested “[a]lmost immediately” that calls to phone numbers belonging to his attorneys,

Charles Clas and three others, not be recorded. Hrg. Tr. at 83, 84-85; Dkt. No. 235.

Lazzaro testified that he requested this multiple times. Hrg. Tr. at 100, Dkt. No. 234; Def.


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Ex. 2. Requests are not processed until the jail confirms the numbers actually belong to

the inmate’s attorneys. Hrg. Tr. at 94-96; Dkt. No. 234. On December 8, 2021, Lazzaro

requested confirmation that his attorney calls were not being recorded. The next day, the

jail confirmed. Def. Ex. 2. In early 2022, Lazzaro requested calls to two more attorneys

not be recorded. Def. Ex. 3.

       Also in August of 2021, Susan Webb, an analyst working in the Minneapolis Police

Department’s Bureau of Criminal Apprehension Human Trafficking Investigators Task

Force (BCA) and Mary Cunningham, Tactical Specialist for the Federal Bureau of

Investigation (FBI) began reviewing jail calls and video recordings relating to Lazzaro’s

case. Hrg. Tr. at 14-15, 52; Dkt. No. 234. An intern at the BCA also listened to calls under

Webb’s direction. Hrg. Tr. at 17-20; Dkt. No. 234. Cunningham and Webb were mostly

concerned with calls made to Lazzaro’s friends, girlfriend, and associates. Hrg. Tr. at 59;

DKt. No. 234. They were listening with an ear toward information relating to the case or

“threats against the prosecution.” Hrg. Tr. at 59-60; Dkt. No. 234. Cunningham also

testified that she could identify certain phone numbers on sight, in part by their area

codes, and would only listen to calls made to specific people, like Lazzaro’s girlfriend.

Hrg. Tr. at 74; Dkt. No. 234. In fact, the analysts knew which callers they wanted to listen

to and sought out calls to their numbers and avoided listening to calls to other numbers.

Id.

       Webb and Cunningham could query NCIC by searching for Lazzaro’s name. Hrg.

Tr. at 18-19.    The query results included numerous columns of information. See

Government’s Ex. 1. In the left-most column, NCIC users found a button marked “Listen”

that allowed them to hear the recording of the call. Gov. Ex. 1. Listed next was the date

and time of the call, then five more columns of information. Gov. Ex. 1. Next, the phone


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number Lazzaro called was listed, followed by the location connected to that phone

number’s area code. Gov. Ex. 1. Still further to the right in the spreadsheet were five more

columns of information. Gov. Ex. 1. Nowhere did the query results spreadsheet identify

the person whom Lazzaro was calling by name, only their telephone number. Gov. Ex. 1.

       After clicking “Listen” to hear a call, NCIC displays a pop-up window that shows

the phone number associated with that call and allows for playback of the call. Hrg. Tr.

at 59, Dkt. No. 234; Def. Ex. 2. When an NCIC user clicks “Listen” that action is also

recorded in the system, regardless of whether and how long the user actually listened to

the recording. Hrg. Tr. at 41; Dkt. No. 234. In short, the system logs when a user merely

clicks “Listen,” then closes the pop-up window without hearing any of the call. Hrg. Tr.

at 41; Dkt. No. 234. Once the user clicks “Listen”, there is a six-second delay before the

recording begins to play. The playback of the recording begins with a message that the

call is being recorded and monitored. Hrg. Tr. at 61; Dkt. No. 234. Lazzaro testified that

he did not hear that message when making calls, except possibly at the beginning of his

incarceration, though his friends and family did. Hrg. Tr. at 99-100. Lazzaro further stated

he believed his attorneys would not hear the message if their numbers were properly

configured. Hrg. Tr. at 100; Dkt. No. 234.

       Webb and Cunningham each testified that they believed the NCIC system would

not allow them to hear attorney-client privileged calls—that it was simply impossible

because they were not recorded. Hrg. Tr. at 22, 63; Dkt. No. 234. Still, Webb and

Cunningham took precautions to avoid inadvertently hearing privileged communications.

Hrg. Tr. at 23, 63; Dkt. No 234. Webb stated the United States Attorney’s office would

inform her of the names of Lazzaro’s attorneys, which she then provided to the intern she

oversaw. Hrg. Tr. at 24; Dkt. No. 234. She instructed the intern to stop listening to a call


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whenever she heard anything unusual or unexpected or she heard any conversations

with anyone she thought might be one of Lazzaro’s attorneys. Hrg. Tr. at 24, 46; Dkt.

No. 234.

       There are seven calls at issue in Lazzaro’s sanctions motion. Sanctions Mem. at 5;

Dkt. No. 213. By listening to these calls, Lazzaro claims, the Government intruded on his

privileged communications with his lawyers, thus denying him his Sixth Amendment right

to counsel. Mot. for Sanctions at 2; Dkt. No. 213. Of the seven calls, one involved Webb,

the other six involved Cunningham. On December 6, 2021, Webb’s intern was listening

to calls and heard one placed on December 3, 2021. Hrg. Tr. at 26; Dkt. No 234. Early

in the call she heard a reference to a person named Charlie. Hrg. Tr. at 26; Dkt. No. 234.

Upon hearing the name Charlie, the intern stopped listening to the call and reported to

Webb, asking her to listen to the call. Hrg. Tr. at 25; Dkt. No. 234. Webb was familiar with

the voice of one of Lazzaro’s associates, Charles Bittman, which she described as “very

distinctive” and “raspy.” Hrg. Tr. at 27; Dkt. No. 234. After listening to the first ten seconds

of the call in question, hearing Lazzaro say “Hey Charlie” and Charlie’s response, Webb

determined Lazzaro was not speaking to Mr. Bittman, not hearing his distinctive, raspy

voice. Webb then ended the playback. Hrg. Tr. at 29-30; Dkt. No. 234. While Webb was

uncertain to whom Lazzaro was speaking, she stopped listening in the event “Charlie”

was Lazzaro’s attorney Charles Clas. Hrg. Tr. at 30; Dkt. No. 234. Webb’s intern made a

notation that the call was with “Charlie” and they stopped listening to calls to that phone

number. Hrg. Tr. at 28-30; Dkt. No 234.

       The six other calls all involve what Cunningham described as “mis-clicks.” Hrg.

Tr. at 64; Dkt. No. 234. In choosing which recordings to access from the NCIC query

results, Cunningham hit the wrong “Listen” button on six occasions. Hrg. Tr. at 64; Dkt.


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No. 234. This happened, she stated, because the numerous columns of information

displayed in the query results would occasionally result in her clicking on the wrong

recording. Hrg. Tr. at 65; Dkt. No. 234. Any click, even a mis-click, would prompt the NCIC

pop-up window and record her name in the system. Hrg. Tr. at 26, 59; Dkt. No. 234. In

these six incidents when she saw the phone numbers in the pop-up window and realized

it was an attorney call, Cunningham closed the calls without listening to them. Hrg. Tr. at

64; Dkt. No. 234. All six of these calls were placed prior to December 9, 2021 when the

jail confirmed Lazzaro’s attorney calls were not being recorded. Def. Ex. 2. Cunningham

also testified that she listened to calls Lazzaro placed to his brother, an attorney, and that

the calls contained discussion of Lazzaro’s case and case strategy. Hrg. Tr. at 76; Dkt.

No 234.

       Based on Webb’s and Cunningham’s actions, Lazzaro moves for sanctions against

the Government, including dismissal of the indictment against him.



                                 CONCLUSIONS OF LAW

I.     Selective Prosecution

       Lazzaro has moved to dismiss the indictment against him, alleging the

Government selectively prosecuted him in violation of the due process clause of the Fifth

Amendment. Mot. to Dismiss at 1-3; Dkt. No. 236. A successful selective prosecution

claim requires a defendant prove that “(1) he was singled out for prosecution while others

similarly situated were not prosecuted for similar conduct, and (2) the decision to

prosecute him was based on an impermissible motive such as race, religion, or an attempt

by the defendant to secure other constitutional rights.” United States v. Rodriguez, 581

F.3d 775, 815 (8th Cir. 2009). Put differently, the defendant must show that the


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prosecution “had a discriminatory effect and that it was motivated by a discriminatory

purpose.” United States v. Armstrong, 517 U.S. 456, 465 (1996).

      Prosecutors hold wide discretion when making decisions about who and what

crimes to prosecute. United States v. Batchelder, 442 U.S. 114, 123-24 (1979); United

States v. Chappell, 779 F.3d 872, 879 (8th Cir. 2015). In deciding to prosecute, the

Government might consider a wide variety of factors including strength of the case against

a defendant, extent of involvement in a crime, resources required to successfully

prosecute a defendant, deterrent effect of the prosecution, and penalties available if

convicted. See, e.g., United States v. Schullo, 390 F.Supp. 1067, 1068 (D. Minn. 1975);

United States v. Ojala, 544 F.2d 940, 944 (8th Cir. 1976); Batchelder, 442 U.S. at 124

(1979). Courts “presume that [prosecutors] have properly discharged their official duties.”

Id. at 880 (citing United States v. Armstrong, 517 U.S. 456, 464 (1996). Because of the

presumption that a prosecution is undertaken in good faith, the defendant bears the

“heavy” burden of establishing a selective prosecution claim. Ojala, 544 F.2d at 943.

      A. Lazzaro has not adequately identified others, similarly situated, who were

          not prosecuted

      Selective prosecution claims rely on the legal framework of equal protection.

Armstrong, 517 U.S. at 465. A claimant must adequately identify comparators to prove

the prosecution’s conduct had a discriminatory effect. Id. For example, “to establish a

discriminatory effect in a race case, the claimant must show that similarly situated

individuals of a different race were not prosecuted.” Id. (emphasis added); see also United

States v. White, 928 F.3d 734, 743 (8th Cir. 2019) (finding the defendant had not proven

the first prong of a selective prosecution claim where he failed to demonstrate “a policy




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by which residents of states where marijuana has been legalized are affirmatively treated

differently from those of states where it has not”).

       Lazzaro claims the Government has prosecuted him because of his wealth and

because of his exercise of his First Amendment right to engage in political speech. To

prove discriminatory effect for a selective prosecution based on wealth, it is not enough

for Lazzaro to find other people accused of, but not prosecuted for, crimes similar to those

for which he was indicted. Instead, he must identify others who are members of a different

economic class than his but who were not prosecuted for similar crimes. Cf. Armstrong,

517 U.S. at 465.

       To establish his political speech claim, he must show one of two discriminatory

effects. First, a defendant may argue he has been selected for prosecution because of

his association with a group that is at odds with the government. See United States v.

Falk, 479 F.2d 616, 619-620 (7th Cir. 1973) (defendant “asserted that the prosecution

against him . . . was brought not because he had violated the statute but to punish him

for and stifle his and others’ participation in protected First Amendment activities”). In

such a case, the defendant must identify others accused of similar crimes who were not

members of the group and were not prosecuted. Id., see also United States v. Crowthers,

456 F.2d 1074 (4th Cir. 1972) (addressing selective application of disorderly conduct

regulations based on the subject and viewpoint of the prosecuted protesters’ speech).

Lazzaro implies the Government prosecutor is at odds with conservative Republicans

with whom he associates. Mot. to Dismiss at 8-11; Dkt. No. 236. Thus, under this prong

of his political speech claim, Lazzaro must identify similarly situated people who are not




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conservative Republicans who were not prosecuted despite allegedly engaging in similar

criminal conduct.

       Second, a defendant may argue instead that he has been invidiously selected for

prosecution because of his individual speech. United States v. Ojala, 544 F.2d 940 (8th

Cir. 1976). In that case, a defendant must provide evidence that people accused of the

same crimes who undertook similar First Amendment speech (e.g. outspoken political

activism) did not face prosecution for their alleged crimes. Falk, 479 F.2d 616. For

example, in Falk, a draft resister was prosecuted for destroying his draft card. Id. He

successfully identified 25,000 other draft registrants who had done the same, yet only

nine of them were prosecuted.1 Id. at 621. In Lazzaro's case, this element would require

him to show that others engaged in similar speech to his—engaging in advocacy of the

GOP—were not prosecuted despite evidence they committed the same or similar crimes.

       Lazzaro has not identified any wealth or political speech comparators. While he

points to “hundreds of tips” to the National Human Trafficking Hotline,2 Lazzaro merely

notes that those hundreds of tips did not result in federal prosecution while the single tip

about his conduct did. Mot. to Dismiss at 5; Dkt. No. 236. He also provides data about the

prosecution of similar crimes at the state level in Minnesota and argues these suggest

“countless opportunities” for the federal government to prosecute similar crimes. Mot. to

Dismiss at 7- 8; Dkt. No. 236. This data provides only half of what is required for Lazzaro

to prove this element. As noted above, Lazzaro must show that either (1) members of a

different economic class were not prosecuted while he was; (2) members of a different


1 The court granted Falk an evidentiary hearing based on that evidence. Falk, 479 F.2d
at 621.
2 The Court assumes without deciding that these tips alleged crimes similar to the ones

of which Lazzaro is accused.

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political party were not prosecuted while he was; or (3) other outspoken Republicans were

not prosecuted while he was. He has shown none of these things. Without such evidence,

Lazzaro has failed to prove the first element of his selective prosecution claim.

       B. Lazzaro has not provided sufficient evidence to prove improper motive

       Even if Lazzaro had sufficiently identified comparators, he has failed to produce

any evidence that he was prosecuted with an improper purpose.

          1. Wealth is not a protected class

       Lazzaro argues he was selected for prosecution based on his “pot of gold,” that is,

his wealth and the potential for the government to seize valuable assets. Mot. to Dismiss

at 11; Dkt. No. 236. Lazzaro posits that wealth is a “highly suspect” classification subject

to “exacting judicial scrutiny,” Mot. to Dismiss at 11; Dkt. No. 236. In fact, wealth is not a

suspect class. San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1 (1973); Maher v.

Roe, 432 U.S. 464 (1977). The Supreme Court “has never held that financial need alone

identifies a suspect class for purposes of equal protection analysis.” Maher, 432 U.S.

at 471 (citing Rodriguez, 411 U.S. at 29). Broad or amorphous assertions that those with

“less” or “more” money are treated unequally do not warrant strict scrutiny. Rodriguez,

411 U.S. at 22. Lazzaro suggests that he was prosecuted because the DOJ could use

the assets “under the guise of legitimate prosecution.” Mot. to Dismiss at 14; Dkt. No. 236.

Yet, he has not provided any evidence that his assets are being improperly used or

targeted. Lazzaro points to excerpts from an FBI interrogation of his co-defendant as

evidence of improper motive. Mot. to Dismiss at 13; Dkt. No. 236. While the FBI agents

asked questions about cash and precious metals in Lazzaro’s home (Mot. to Dismiss

at 13, Dkt. No. 236) the Court lacks proper context needed to analyze the propriety of the

interview based only on those brief excerpts. Similarly, the subpoena of records


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associated with Lazzaro’s investment accounts (Mot. to Dismiss at 14, Ex. D; Dkt.

No. 236, 236-4) do not demonstrate improper motive in and of themselves. That Lazzaro

is wealthy does not establish the Government’s motivation to acquire his assets.

           2. Lazzaro’s political speech

       Lazzaro argues he has been prosecuted for exercising his First Amendment free

speech rights. As evidence, he points to specific events. First, he notes that he was

arrested on the same day he was scheduled to appear on a TV program known for

conservative political commentary. Mot. to Dismiss at 9; Dkt. No. 236. He also points to

the subpoena of his “entirely political” Twitter account as proof of impermissible motive.

Id. These events are not enough to meet Lazzaro’s “heavy” burden to establish improper

motive. United States v. Ojala, 544 F.2d 940, 943 (8th Cir. 1976).

       Any connection between Lazzaro’s speech activity and the prosecution appears

coincidental at best. Though Lazzaro’s political speech and the investigation and

prosecution overlapped in time, mere temporal proximity is insufficient to prove motive.

See, e.g., Flowers v. City of Minneapolis, Minn., 558 F.3d 794, 800 (8th Cir. 2009)

(internal citations omitted). Indeed, an accused with a “robust and active” political life like

Lazzaro (Mot. to Dismiss at 8; Dkt. No. 236) must expect that any investigation or

prosecution would overlap with his frequent political speech. This is not a case where

Lazzaro’s prosecution obviously stems from his expressive activity. Lazzaro was not

arrested after announcing his intent to break the law as a political protest, or after

participating in a controversial group protest. See, Ojala 544 F.2d 940; United States v.

Crowthers, 456 F.2d 1074 (4th Cir. 1972). The mere fact that he was arrested on a day

on which he was scheduled to appear on television is insufficient as there is nothing in




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the record to suggest that the prosecutor or law enforcement knew of Lazzaro’s imminent

appearance or what it involved.

       Moreover, in contrast to other cases claiming selective prosecution based on

exercise of First Amendment speech rights, the crimes for which Lazzaro is being

prosecuted bear no connection to the content of his political speech. Lazzaro suggests

the prosecutor’s cross-examination of a witness at his detention hearing demonstrates

her political animus. Mot. to Dismiss at 9-10; Dkt. no. 236. However, the questioning at

issue was ordinary cross-examination within the scope of the witness’s direct testimony,

which included references to his and Lazzaro’s political ties. Restricted Transcript of

Arraignment and Detention Hearing at 54-74; Dkt. No. 29. The evidence Lazzaro points

to as proof of improper motive does not satisfy his heavy burden.

II.    Vindictive Prosecution

       Similar to his claim of selective prosecution, Lazzaro also argues the Government

has vindictively prosecuted him. Mot. to Dismiss. at 14-18; Dkt. No. 236. To prove a claim

of vindictive prosecution, the defendant must show through “objective evidence” that the

prosecution was brought to punish the defendant for the exercise of a legal right. United

States v. Beede, 974 F.2d 948, 951 (8th Cir. 1992). Courts look at the “prosecutor’s

actions within the context of the entire proceeding.” United States v. Chappell, 779 F.3d

872, 880 (8th Cir. 2005). A finding of vindictiveness is based on evidence of the

prosecutor’s motives. Id. at 878-79. Again, the defendant’s evidentiary burden is “a heavy

one.” Id. at 879.

       The law on vindictive prosecution is somewhat murky. Despite the broadly stated

rule that vindictive prosecution may exist whenever a prosecutor brings charges to punish

a defendant for the exercise of “a legal right,” vindictive prosecution claims typically, if not


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exclusively, arise in a narrower context. In practice, vindictive prosecution claims arise,

almost invariably, when a criminal defendant has invoked a procedural right or employed

a procedural mechanism and then experiences alleged retaliation for that conduct, usually

in the form of modified or increased charges. E.g. United States v. Rodgers 18 F.3d

1425,1430 (8th Cir. 1994) (addressing reindictment on revised charges); Bordenkircher

v. Hayes, 434 U.S. 357 (1978) (addressing increased charges after not guilty plea);

Chappell, 779 F.3d 872 (8th Cir. 2015) (addressing additional charge of the already-

indicted crime); United States v. Goodwin, 457 U.S. 368 (1982) (addressing elevated

charges); see also Rodgers 18 F.3d 1425. Thus, vindictive prosecution cases do not

typically involve retaliation for the exercise of just any legal right, but rather for the

exercise of a procedural right exercised during the course of a defendant’s case.

       In fact, some courts have gone so far as to expressly limit vindictive prosecution

claims to those stemming from retaliation for a defendant’s exercise of a procedural right.

See, e.g., United States v. Wilson, 639 F.2d 500, 502 (9th Cir. 1981) (“Vindictive

prosecution arises only where the government increases the severity of alleged charges

in response to a defendant’s exercise of constitutional rights.”); Jarrett v. United States,

822 F.2d 1438, 1442 (7th Cir. 1987) (noting that where “there is a single prosecution, and

no increase in charges” there is no vindictive prosecution). Furthermore, this Court is

unaware of any cases like the instant one, and Lazzaro has cited none, where a defendant

successfully challenged his initial indictment on the basis of vindictive prosecution.

Because Lazzaro has not exercised a legal right similar to those described above, his

claim for vindictive prosecution is dubious at best.

       Even if vindictive prosecution were construed broadly enough to cover the

circumstances of Lazzaro’s case, he has failed to provide sufficient objective evidence


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that the Government prosecuted him vindictively. See Chappell, 779 F.3d 879 (8th Cir.

2015). In looking at the lead prosecutor’s conduct in the entire scope of Lazzaro’s

proceedings, there is no evidence to establish she acted vindictively in prosecuting

Lazzaro. That she and Lazzaro would seem to disagree about politics is insufficient to

establish a prima facie case of vindictive prosecution. Lazzaro argues that the lead

prosecutor’s political campaign contributions demonstrate vindictive motive. Yet, the only

motive her political contributions clearly evince is that of electing certain candidates, not

hunting Lazzaro. Any perceived link between Lazzaro’s speech, the prosecutor’s

campaign contributions, and the subsequent prosecution is speculation.

       Lazzaro suggests the prosecution is preoccupied with his political affiliations, and

that such a preoccupation is proof of improper motive. He notes that the FBI questioned

his co-defendant about photographs of Lazzaro with Donald Trump and Dick Cheney.

While it is unclear from the very brief excerpt why the FBI inquired about those

photographs, the questions are equally as consistent with a benign motive as with an

improper one.

       Lazzaro also claims a meeting with an FBI agent to discuss allegations against

Democratic Congresswoman Ilhan Omar was canceled at the last minute at the direction

of the lead prosecutor on his case. Mot. to Dismiss. Ex. D; Dkt. No. 236-4. He contends

the cancellation demonstrates her animus toward his political views, presumably because

he feels she thwarted his efforts to uncover the Congresswoman’s alleged wrongdoing.

Lazzaro’s allegations lack the specificity necessary to support his claim. The timeline of

his investigation into Representative Omar and the timeline of the Government’s




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investigation into Lazzaro’s conduct is unclear. Without more, the Court cannot infer from

a coincidence in timing evidence of improper motive.

       Lazzaro also contends he is being prosecuted for his exercise of his right to privacy

or free association because the prosecutor disapproves of his choice of intimate partners.

Mot. to Dismiss at 15; Dkt. No. 236. Lazzaro argues the prosecutor has “repeatedly

referenced” his involvement in the legal adult entertainment industry and mentioned that

involvement at his detention hearing in “obvious disapproval” of his character. Mot. to

Dismiss at 16-17; Dkt. No. 236. However, Lazzaro’s impression that the prosecutor does

not like him or disapproves of his actions does not demonstrate vindictiveness. See

United States v. Walker, 514 F.Supp. 294, 311 (E.D. La., 1981) (citing Gregg v. Ga., 428

U.S. 153, 183-84 (1976)) (noting that vindictiveness cannot be so broadly defined in a

legal system that recognizes the legitimacy of retribution). Prosecutors are not required

to feel neutral about the defendants they prosecute. Cf. id. It would be unusual to find a

prosecutor who does not feel some level of emotional response to the subject of the

prosecution. As noted, it is unclear Lazzaro’s exercise of the “right to privacy” can be the

basis for a vindictive prosecution claim, but even if it can, Lazzaro has provided no

objective evidence that the prosecutor’s disapproval of his sexual encounters (as distinct

from her judgement that the behavior was criminal) motivated the prosecution.

       The evidence Lazzaro has provided, even taken as a whole, is insufficient to prove

selective or vindictive prosecution. For his selective prosecution claim, Lazzaro has not

provided adequate evidence of comparators or improper motive. If a vindictive




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prosecution claim can apply to these facts at all, Lazzaro’s evidence is too thin to prove

that claim. The Court recommends Lazzaro’s Motion to Dismiss [Dkt. No. 236] be denied.

III.   Sixth Amendment Deprivation

       Lazzaro argues the Government violated his Sixth Amendment rights by listening

to phone calls he made to his attorneys while in jail. Motion for Sanctions for Government

Breach of Privileged Communications (Mot. for Sanctions), passim; Dkt. No. 213;

Defendant’s Post-Hearing Memorandum in Support of Mot. for Sanctions (Sanctions

Mem.), passim; Dkt. No. 235. Lazzaro claims that violation warrants relief, including

possible dismissal of the indictment against him.

       The Sixth Amendment guarantees to criminal defendants the assistance of

counsel for their defense, which in turn protects attorney-client communications. See,

e.g., Weatherford v. Bursey, 429 U.S. 545, passim (1977). Even so, an intrusion on the

attorney-client relationship is a not a per se violation of the Sixth Amendment. Instead,

such a violation is established only if “(1) the government knowingly intruded into the

attorney-client relationship and (2) the intrusion demonstrably prejudiced the defendant

or created a substantial threat of prejudice.” United States v. Singer, 785 F.2d 228, 234

(8th Cir. 1986) (emphasis added) (citing Weatherford v. Bursey, 429 U.S. 545 (1977)).

The Supreme Court has described the intrusion required as not simply a knowing one but

rather a purposeful one. Weatherford, 425 U.S. at 558 (“There being no . . . purposeful

intrusion by Weatherford, there was no violation of the Sixth Amendment . . . .)”. The

defendant bears the burden of proving a violation of the Sixth Amendment. Kriens, 270

F.3d at 603 (8th Cir. 2001); Solomon, 679 F.2d at 1250.




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       A. The Government did not knowingly intrude on Lazzaro’s relationship with

          his attorneys

       The record before the Court does not indicate the Government knowingly intruded

on Lazzaro’s attorney-client relationship in violation of the Sixth Amendment. First, Webb

and Cunningham both mistakenly believed that Lazzaro’s calls with attorneys were not

recorded and therefore there was no way for them to hear such privileged conversations.

Hrg. Tr. at 22, 63; Dkt. No. 234. Given that belief, they did not knowingly access

recordings of calls made to Lazzaro’s attorneys. Furthermore, neither Webb nor

Cunningham intended to listen to calls between Lazzaro and his lawyers. Cunningham

did not intend to select the six calls at issue, let alone listen to them. Similarly, Webb did

not purposefully intrude on Lazzaro’s attorney-client relationship when she listened to the

call with attorney Clas because she did not know at the time the call was with Clas, and

she stopped listening as soon as they recognized the possibility. Cf. Weatherford, 429

U.S. at 557 (finding no purposeful intrusion where a government informant was present

during the defendant’s meeting with his attorney because he went, “not to spy” but

because the defendant asked him to attend).            Without evidence that Webb and

Cunningham listened to the calls intending to intrude on Lazzaro’s relation with his

attorneys, Lazzaro cannot prove his Sixth Amendment claim.

       Second, because Webb and Cunningham did not hear any actual communication

of legal advice or strategy between Lazzaro and his attorneys, there was no intrusion.

Weatherford v. Bursey, 429 U.S. 545, 552 (1977) (noting that whether there is a violation

“depends on whether the overheard conversations have produced, directly or indirectly,

any of the evidence offered at trial”). Cunningham testified that she never clicked the

“play” button for the six calls. Hrg. Tr. at 64; Dkt. No. 234. While the NCIC system showed


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she had listened to those calls, the initial selection of a call from the query results is logged

as “listened to”, regardless of whether a user actually hears any of the recording. Hrg. Tr.

at 41; Dkt. No. 234. Here, Cunningham heard nothing because she never played the

errantly selected recording. Id. Having heard nothing, Cunningham did not intrude on

Lazzaro’s relationships with his attorneys.3

       Webb heard more than Cunningham, but still did not hear any substantive

communications between Lazzaro and his lawyers. Webb heard what essentially

amounted to telephone greetings, then stopped listening to that recording. Hrg. Tr. at 29-

30; Dkt. No 234. Webb did not hear any discussion of the case, any reference to case

strategy, or any statement even cursorily connected to Lazzaro’s defense. Hrg. Tr. at 29-

30; Dkt. No 234; Weatherford, 429 U.S. 545. Webb’s exposure to introductory

pleasantries between Lazzaro and his counsel did not intrude on Lazzaro’s privileged

relationship with his attorneys.

       Lazzaro’s brief makes somewhat cursory mention of calls he placed to his brother,

Derek, who is an attorney. Sanctions Mem. at 10-11; Dkt. No 235. Cunningham

acknowledged she had listened to calls between Lazzaro and Derek, that she knew Derek

is a lawyer, and that Lazzaro and Derek discussed Lazzaro’s case. Hrg. Tr. at 76; Dkt.

No. 234. Lazzaro claims those conversations were subject to attorney-client privilege and

that Cunningham intentionally listened to them. Sanctions Mem. at 10-11; Dkt. No. 235.

The Court finds various shortcomings with that argument.




3 Of course, the Court’s analysis on this issue depends upon the veracity of Webb’s and
Cunningham’s testimony. The Court heard the testimony of the witnesses and observed
their demeanor. The Courd finds their testimony credible.

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       To start, it is unclear that an attorney-client relationship exists between Lazzaro

and his brother, which is required before the attorney-client privilege attaches. United

States v. Williams, 720 F.3d 674, 686 (8th Cir. 2013). Derek Lazzaro has not appeared

in this case, nor did Lazzaro submit Derek’s phone number to the jail to prevent them

from recording calls placed to Derek. Def. Exs. 2, 3. Moreover, because Lazzaro failed to

request his conversations with Derek not be recorded, he effectively waived any privilege

that might be said to exist. The attorney-client privilege is deemed waived where the client

knows the communication is not private, for example when the client knows they are being

recorded. United States v. Hatcher, 323 F.3d 666, 674 (8th Cir. 2003). A recording device

is the “functional equivalent of the presence of a third party” and “destroy[s] attorney-client

privilege.” Id. Lazzaro knew from the earliest days of his incarceration that all jail calls

were recorded unless he requested calls to a particular number be excepted from that

rule. Hrg. Tr. at 82-84; Dkt. No. 234. Lazzaro never requested the jail stop recording his

calls to Derek. See Def. Exs. 2, 3. Because Lazzaro knew the calls to his brother were

being recorded, he waived any alleged attorney-client privilege between them. Hatcher,

323 F.3d at 674. Webb did not intrude on Lazzaro’s attorney-client relationship with his

brother.4




4
  The Court notes that this same reasoning could suggest Lazzaro waived attorney-client
privilege for each of the seven calls at issue in his Motion for Sanctions because each
call was placed prior to Lazzaro’s request that Sherburne County Jail stop recording calls
to his attorneys. Because the Court finds no knowing intrusion into Lazzaro’s relationship
with his counsel regardless of the timeline, the Court declines to analyze waiver regarding
these calls.


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       B. Lazzaro has not shown any alleged intrusion caused him particular

             prejudice

       Even if there was a knowing intrusion on Lazzaro’s relationship with his attorneys,

Lazzaro has failed to prove “the intrusion demonstrably prejudiced [him] or created a

substantial threat of prejudice.” United States v. Sawatzky, 994 F.3d 919, 923 (8th Cir.

2021). Lazzaro argues the Government’s actions had a chilling effect on his phone

communications with his attorneys. Mot. for Sanctions at 7; Dkt. No. 213. This chilling

effect, he claims, has “prejudiced [his] trial preparation.” Mot. for Sanctions at 8; Dkt.

No. 213.

       Lazzaro’s generalized allegation of chilled communications is not enough to

establish the “demonstrable” and “particular” prejudice required by law. United States v.

Sawatzky, 994 F.3d 919, 923 (8th Cir. 2021). Even more specific allegations of prejudice

have not met the defendants’ heavy burden of demonstrating a Sixth Amendment

violation. See, e.g., Sawatzky, 994 F.3d at 923 (finding no prejudice even when the

government seized the defendant’s legal documents); Rainer v. Dept. of Corr., 914 F.2d

1067, 1070 (8th Cir. 1990) (finding no prejudice where the government’s presence did not

affect the outcome of the defendant’s expert’s ballistics tests). Lazzaro’s broad allegation

of a chilling effect on his attorney-client communications does not meet it either. Without

proof of particular, demonstrable prejudice, Lazzaro cannot show a Sixth Amendment

violation.

       C. Even if the Government intruded, any sanction would be nominal at best

       Even if Lazzaro had established that the Government’s conduct violated Lazzaro’s

Sixth Amendment right, the remedy for that violation would not be dismissal of the

indictment as Lazzaro urges. Mot. for Sanctions at 1, Dkt. No. 213. Remedies to Sixth


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Amendment violations should be tailored to the injury suffered. United States v. Solomon,

678 F.2d, 1246, 1251 (8th Cir. 1982). Absent “some adverse effect on the effectiveness

of counsel’s presentation” or “prejudice to the defense,” “there is no basis for imposing a

remedy.” Morrison, 449 U.S. at 365. Suppression of evidence, rather than dismissal of

the indictment, is often most appropriate when the Sixth Amendment has been violated,

United States v. Morrison, 449 U.S. 361, 365 (1981); see also, Solomon, 679 F.2d at

1251; United States v. Kriens, 270 F.3d 597, 603 (8th Cir., 2001), and dismissal of an

indictment is a rare and “drastic remedy.” United States v. Singer, 785 F.2d 228, 237 (8th

Cir. 1986).

       Here, any violation that did occur would be de minimis at best because neither

Webb nor Cunningham heard any substantive communications between Lazzaro and his

attorneys during the seven calls at issue. See, Morrison, 449 U.S. at 365 (“[C]ertain

violations of the right to counsel may be disregarded as harmless error.”). Such a de

minimis intrusion does not warrant the “drastic” step of dismissing the indictment. Singer,

785 F.2d at 237. Further, since Webb and Cunningham did not hear anything related to

Lazzaro’s case, it is unclear what remedy the Court could impose that would redress this

alleged de minimis violation. Hrg. Tr. at 28-30, 64; Dkt. No. 234. Given the lack of a

knowing intrusion or demonstrable prejudice, the Court finds “no basis for imposing a

remedy.” Morrison, 449 U.S. at 365, and recommends denying Lazzaro’s motion for

sanctions.

       D. Lazzaro has not established a Fifth Amendment violation either

       Finally, Lazzaro briefly argues that this conduct denied him due process of law

under the Fifth Amendment. Mot. for Sanctions at 3; Dkt. No. 213. Because the test for

such a violation is conjunctive and includes two of the elements needed to prove a Sixth


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Amendment violation, United States v. Williams, 720 F.3d 674, 686 (8th Cir. 2013), and

because Lazzaro has not proven those elements, the Court declines to further analyze

whether Webb and Cunningham’s conduct constitutes a due process deprivation.

                                 RECOMMENDATION

      For the reasons set forth above, the Court RECOMMENDS THAT:

      1.     Defendant’s Amended Motion to Dismiss for Selective or Vindictive

Prosecution [Dkt. No. 236] be denied.

      2.     Defendant’s Motion for Sanctions for Government’s Breach of Privileged

Communications [Dkt. No. 213] be denied.



Dated: October 12, 2022                         ___s/David T. Schultz_____
                                                DAVID T. SCHULTZ
                                                United States Magistrate Judge




                                        NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the
District Court and is therefore not appealable directly to the Eighth Circuit Court of
Appeals.

Under Local Rule 72.2(b)(1), “a party may file and serve specific written objections to a
magistrate judge’s proposed finding and recommendations within 14 days after being
served a copy” of the Report and Recommendation. A party may respond to those
objections within 14 days after being served a copy of the objections. LR 72.2(b)(2). All
objections and responses must comply with the word or line limits set for in LR 72.2(c).




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